      Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 1 of 9 PageID #:1219




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                                   Case No. 1:18-cv-02387

                        Plaintiff,
                                                         Honorable Robert M. Dow
 v.

 RAJU VASWANI, an individual,                            JURY TRIAL DEMANDED
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,
 INC.), an Illinois Corporation,

                        Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                        Nominal Defendant

                  PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT
                       OF MOTION FOR RECONSIDERATION

        Plaintiff, Sunil Bhatia, by and through his undersigned counsel, submits this Supplemental

Brief in Support of his Motion to Alter or Amend this Court’s September 25, 2019 Order (“Motion

to Reconsider”). (Dkt. 87).

        In the Motion to Reconsider, Plaintiff requests that this Court vacate its September 25,

2019 Order (Dkt. 83) (the “Dismissal Order”) dismissing Counts V-VIII and X of Mr. Bhatia’s

Second Amended Complaint (Dkt. 44) for lack of jurisdiction. Plaintiff argues that supplemental

jurisdiction is proper for his State law counts because Counts V-VIII (Breach of Fiduciary Duty

and Breach of Duty of Loyalty) derive from a common nucleus of operative facts that is virtually

identical to his federal trademark and trade secret claims (Counts I and III). Plaintiff also points



                                                  1
       Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 2 of 9 PageID #:1219




out that he may suffer substantial prejudice if Counts V-III and X (Declaration of Ownership in

MedValue) are dismissed from this action.

         This Court directed Plaintiff to file a supplemental brief of no more than 7 pages addressing

whether the State law claims substantially predominate over the federal claims. (Dkt. 89).

  I.     ARGUMENT AND AUTHORITIES

          Supplemental jurisdiction is a “doctrine of discretion, not of plaintiff’s right,” United Mine

Workers of America v. Gibbs, 383 U.S. 715, 726 (1966), but “judicial power to hear both state and

federal claims exists where the federal claim has sufficient substance to confer subject matter

jurisdiction on the court, and the state and federal claims derive from a common nucleus of

operative facts.” Ammerman v. Sween, 54 F.3d 423, 424 (7th Cir.1995) (citing Gibbs, 383 U.S. at

725). Although courts may decline to exercise supplemental jurisdiction over a State claim if it

“substantially predominates over the claim or claims over which the district court has original

jurisdiction,” (28 U.S.C. § 1367(c)(2)), the justification for the court’s power over State claims

“lies in considerations of judicial economy, convenience and fairness to litigants.” Angelopoulos

v. Keystone Orthopedic Specialists, S.C., 2014 WL 292578, at *6 (N.D. Ill. Jan. 23, 2014) (citing

Gibbs, 383 U.S. at 726.)

         Courts assessing 28 U.S.C. § 1367(c)(2) have considered whether there is overlap between

State and federal claims. Id. at *7 (exercising supplemental jurisdiction where plaintiff would

otherwise have to bring a parallel State court suit involving a “significant amount of evidentiary

overlap”); Shields v. Illinois Dep’t of Corr., 2011 WL 494199, at *2 (N.D. Ill. Feb. 7, 2011) (when

claims arise out of the same events, differing standards of proof outweighed by fact that evidence

that will be offered to prove and rebut will be the same); Fowler v. Evansville Convention &

Visitors Bureau, 2010 WL 4291298, at *4 (S.D. Ind. Oct. 22, 2010) (denying 1367(c)(2) motion




                                                    2
    Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 3 of 9 PageID #:1219




where Federal and State claims were “inextricably related and intertwined”); Oney v. Assured

Recovery LLC, 2019 WL 3346754, at *3 (E.D. Wisc. July 25, 2019)(exercising supplemental

jurisdiction over State claims because they did not substantially predominate and were so

intertwined with a Federal claim; State claims for civil theft and conversion would be heard,

particularly where evidence derived from a “common nucleus of operative fact” that was not likely

to differ significantly).

        If presentation of the original and supplemental claims will overlap substantially at trial,

supplemental jurisdiction “usually will realize economy and efficiency by resolving in one

proceeding both the original and the supplemental claim[s].” Wright & Miller, 13D Federal

Practice and Procedure § 3567.3 (3d ed.); see also Bartoli v. Applebee’s Rest., 2001 WL 40798,

at *2 (N.D. Ill. Jan. 17, 2001) (gross waste of resources to litigate the same factual issues in two

separate forums); Wagner v. Bank of Am., N.A., 2012 WL 6586347, at *2 (S.D. Ill. Dec. 17, 2012)

(one judicial proceeding consideration is critical); Oney, 2019 WL 3346754, at *3 (dismissal of

the State law claims would result in the remaining federal claim being adjudicated using

substantially the same evidence as would be required for a concurrent State proceeding on the

dismissed claims and such duplicative litigation would be a gross waste of judicial resources).

        In many cases where original federal jurisdiction was based upon the Defend Trade Secrets

Act, 18 U.S.C. 1836 (“DTSA”) courts have exercised supplemental jurisdiction over State claims

for breach of fiduciary duty and breach of duty of loyalty, as well as other State claims and

counterclaims such as conversion, breach of contract, unenforceability of contract provision and

tortious interference. See, e.g., Call One, Inc. v. Anzine, No. 18 C 124, Dkt. 54 (N.D. Ill. March

20, 2018) (original federal jurisdiction over plaintiff’s claims was founded on misappropriation of

trade secrets in violation of the DTSA, and court exercised supplemental jurisdiction over




                                                  3
    Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 4 of 9 PageID #:1219




defendant’s counterclaim seeking declaratory judgment that non-solicitation covenant was

unenforceable finding the counterclaim was sufficiently related to plaintiff’s complaint to be

within the court’s supplemental jurisdiction and the court was unpersuaded that the counterclaim

would predominate over the rest of the case) (Copy attached as Exhibit A); Kuryakyn Holdings,

LLC v. Ciro, LLC, 242 F.Supp.3d 789, 796 (2017) (original federal jurisdiction over plaintiff’s

claims arose under the DTSA and the Copyright Act of 1976, 17 U.S.C. § 101, et seq., and the

court exercised supplemental jurisdiction over the remaining state law claims for trade secret

misappropriation, breach of contract, breach of fiduciary duty and duty of loyalty, and conspiracy

to injure business against all defendants); MSC Safety Solutions, LLC v. Trivent Safety Consulting,

LLC, No. 19-cv-00938-MEH, 2019 WL 5189004 at *7 (D. Colorado October 15, 2019) (after

denying motion to dismiss federal claims relating to alleged violations of the DTSA and Computer

Fraud and Abuse Act, 18 U.S.C. § 1030, et seq. (“CFAA”), the court exercised supplemental

jurisdiction over eight state law claims, including claims for breach of duty of loyalty and

conversion, finding that they do not substantially predominate over the two federal claims pursuant

to 28 U.S.C. § 1367(c)(2), despite outnumbering them, because the state law claims were

substantially similar to the federal claims and/or were alternate causes of action that arose out of

the same nucleus of facts as the federal claims); Segerdahl Corp. v. Ferruzza, No. 17-cv-3015,

2019 WL 77426, at *4 (N.D. Ill. Jan. 2, 2019) (original federal jurisdiction over plaintiff’s claims

against former employees and new employer under DTSA and CFAA and supplemental

jurisdiction over state law claims under the Illinois Trade Secrets Act (“ITSA”), 765 Ill.Comp.Stat.

1065/1 et seq., as well as claims for breach of fiduciary duty, tortious interference with prospective

economic advantage, aiding and abetting breach of fiduciary duty, conversion, unfair competition,

civil conspiracy, unjust enrichment, and negligent spoliation of evidence).




                                                   4
    Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 5 of 9 PageID #:1219




        As the Third Circuit has noted, the “substantially predominates” standard allows a limited

exception to the operation of the doctrine of pendent jurisdiction - a doctrine that seeks to promote

judicial economy, convenience, and fairness to litigants by litigating in one case all claims that

arise out of the same nucleus of operative facts. Borough of West Mifflin v. Lancaster, 45 F.3d

780, 789 (3d Cir.1995). When a district court exercises its discretion not to hear claims under

1367(c)(2) the advantages of a single suit are lost, and this provision should be invoked “only

where there is an important countervailing interest to be served by relegating state claims to the

state court.” Id.

        Here, Mr. Bhatia’s State law claims in Counts V-VIII and X satisfy the requirements of

judicial economy, convenience, and fairness to litigants by litigating in one case all claims that

arise out of the same nucleus of operative facts. The plaintiff and one of the defendants, Mr. Raju

Vaswani, are the co-owners of MedValue. The federal trademark claim (Count I) and trade secret

claim (Count III) and the breach of fiduciary duty and breach of duty of loyalty State law claims

against Raju Vaswani (Counts V-VIII) all arise out of the same common nucleus of facts –

generally, the facts surrounding how Raju Vaswani and his son, Karan Vaswani, set up a company

to improperly compete with MedValue starting in around June 2017. There will be substantial

overlapping evidence to prove the trademark and trade secret claims as well as the breach of

fiduciary duty and duty of loyalty claims.

        The overlapping evidence will include evidence of how the defendants pursued a course of

action to begin a competing company, Assivo, even though Raju Vaswani is an owner and officer

of MedValue. Those actions improperly harmed MedValue and Mr. Bhatia and improperly

benefitted Raju Vaswani, Karan Vaswani and Assivo. As a co-owner of MedValue, Raju Vaswani

owed a fiduciary duty and duty of loyalty to both MedValue and Mr. Bhatia. As alleged in the




                                                  5
    Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 6 of 9 PageID #:1219




Second Amended Complaint, those duties were breached by Raju Vaswani’s role and actions

regarding Assivo.    The evidence needed to show infringement of MedValue’s trademarks,

misappropriation of MedValue’s trade secrets and the breach of fiduciary duty and duty of loyalty

claims will greatly overlap. The overlapping evidence will include evidence concerning the

improper use of MedValue’s trademarks on Assivo’s website and as a domain name to confuse

and divert customers from MedValue to Assivo; misappropriation and improper use of

MedValue’s trade secrets, confidential and proprietary information and search engine optimization

techniques to advertise Assivo’s competing services on “Google” to divert customers from

MedValue to Assivo; removal of administrative access rights to MedValue’s AdWords account

for Sunil Bhatia’s MedValue email address and assigning administrative access to an email address

at Assivo; use of MedValue’s Advertising and Marketing Trade Secrets to run Google campaigns

to divert potential customers to Assivo’s website; use of a MedValue credit card to pay for

marketing costs for Assivo, including the use of MedValue’s Google AdWords to market Google

campaigns for Assivo; and by frequently stopping, impairing and interfering with MedValue’s

advertising campaigns, and running campaigns for Assivo. All of these actions injured both

MedValue and Mr. Bhatia and stem from Raju Vaswani’s actions with his son concerning the

formation and operation of Assivo beginning in about June 2017.

       This is exactly the sort of case in which supplemental jurisdiction is appropriate. Neither

private interests nor judicial economy would be promoted by resolving the trademark and trade

secret claims in federal court while resolving the breach of fiduciary duty, breach of duty of loyalty

and ownership claims in State court. The evidence for the breach of fiduciary duty (Counts V and

VI) and breach of duty of loyalty claims (Counts VII and VIII) will completely overlap with that

in the Federal trademark and trade secret claims (Counts I and III), and it will be difficult to view




                                                   6
          Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 7 of 9 PageID #:1219




any of the facts in isolation. There would also be no juror confusion on any of the issues.

            The claim in Count X (declaration of ownership of MedValue) is also related to the Federal

trademark and trade secret claims and evidence of MedValue’s ownership will overlap with

ownership of the trademarks and trade secrets. It makes sense to litigate all of Plaintiff’s claims

concerning this business dispute between the owners of MedValue in one proceeding.1

            Plaintiff respectfully submits that this Court should retain supplemental jurisdiction over

the State law claims in the interests of judicial economy, convenience, and fairness. If it does not,

and even if Mr. Bhatia could re-file the State claims in state court, Mr. Bhatia would be forced to

bring a parallel suit in State court that would involve a significant amount of evidentiary overlap

with his Federal case, which would defeat the very purpose that underlies the Court’s supplemental

jurisdiction. Plaintiff also respectfully submits that it is sensible to litigate all of Plaintiff’s claims,

including Counts V-VIII and X in a single federal proceeding. The identity of the issues, the

convenience to both plaintiff and defendants of not having to litigate in multiple forums, and the

economy of resolving all claims at once strongly suggests that an exercise of supplemental

jurisdiction is appropriate.

    II.     CONCLUSION AND REQUEST FOR RELIEF

            Plaintiff respectfully submits that the State law claims do not substantially predominate

over the federal claims.           For these reasons, Plaintiff requests that this Court reconsider

supplemental jurisdiction and prays for the reversal of its dismissal of Counts V-VIII and X2 in

Plaintiff’s Second Amended Complaint, and for such other and further relief as is appropriate.



1 In the event the Court finds the presentation of Count X does not overlap enough with the federal claims, it may
still exercise supplemental jurisdiction over Counts V-VIII which do overlap.
2 Although Plaintiff did not seek reconsideration of this Court’s dismissal of Count IX due to the lack of prejudice,
the Court may nonetheless exercise supplemental jurisdiction of Count IX (Conversion) of Mr. Bhatia’s Second
Amended Complaint for the same reasons as Count X (Declaration of Ownership of MedValue).


                                                           7
   Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 8 of 9 PageID #:1219




Dated: November 8, 2019              RESPECTFULLY SUBMITTED,


                                     By: /s/ John G. Bisbikis
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                                        8
   Case: 1:18-cv-02387 Document #: 93 Filed: 11/08/19 Page 9 of 9 PageID #:1219




                               CERTIFICATE OF SERVICE

       The undersigned states that, on November 8, 2019 he caused the above to be served on

Defendants’ counsel of record by way of ECF filing.




                                           By: /s/ John G. Bisbikis
